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Elaine Levins and William Levins, on behalf of

themselves and others similarly situated

VS.

Healthcare Revenue Recovery Group, LLC d/b/a

ARS Account Resolution Services

 

ATTORNEY FOR DEFENDANT
Healthcare Revenue Recovery Group,
LLC

UNITED STATES
DISTRICT COURT

DOCKET NO. 1:17-cv-928-RBK-KMW
CIVIL ACTION
STATEMENT OF MATERIAL
FACTS NOT IN DISPUTE IN

SUPPORT OF SUMMARY
JUDGMENT

Defendant, Healthcare Recovery Group, LLC (“HRRG”), d/b/a ARS hereby

submits the following statement of material facts not in dispute in support of

summary judgment. ARS submits that the following facts are undisputed:

BACKGROUND

1. On February 12, 2017, the Plaintiffs filed a putative class action complaint

for alleged violations of the FDCPA. (See Complaint, Exhibit A).

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2. In response to a motion to dismiss, on April 12, 2017, the Plaintiffs filed a
First Amended Complaint. (See First Amended Complaint, Exhibit B).
3. The amended complaint alleges that Defendant left pre-recorded telephone
messages with the Plaintiffs that allegedly violated the FDCPA. The messages are
transcribed in the amended complaint as follows:
ARS calling. Please return our call at 1-800-694-3048. ARS is a debt
collector. This is an attempt to collect a debt. Any information
obtained will be used for that purpose. Again, our number is 1-800-

649-3048. Visit us at www.ars.payment.com.

(Exhibit B, paragraph 30-31).

4, Defendant filed a motion to dismiss the amended complaint, which the Court
granted on September 26, 2017. (See September 26, 2017 Order and Opinion
attached as Exhibit C).

SE The Plaintiffs appealed the September 26, 2017 Order.

6. On August 22, 2018, the Third Circuit issued an Opinion vacating in part
and affirming in part the September 26, 2017 Order. (See Third Circuit Decision
attached as Exhibit D).

7. The Third Circuit concluded that the amended complaint had stated a prima
facie claim under FDCPA §1692e(14), but that the Plaintiffs failed to state a claim
under FDCPA § 1692d(6) or § 1692e(10). (Exhibit D, page 3).

8. In addressing the §1692e(14) claim, the Third Circuit stated that,

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The FTC has interpreted the ‘true name’ requirement contained in §
1692e(14) to permit a debt collector to ‘use its full business name, the
name under which it usually transacts business, or a commonly used
acronym[,]’ as long as it consistently uses the same name when
dealing with a particular consumer.

(Exhibit D, page 11).
2. The allegation that Defendant did not use its true name when communicating
with Plaintiffs is the only claim which remains in the case. (Exhibit D).
THE RECORD REVEALS THAT DEFENDANT USED THE
NAME UNDER WHICH IT USUALLY TRANSACT BUSINESS
AND/OR A COMMONLY USED ACRONYM _IN EVERY
COMMUNICATION WITH PLAINTIFFS

10. “ARS Account Resolution Services” is a registered alternative trade name in
New Jersey for HRRG. (See trade name registration attached as Exhibit E).
11. ARS Account Resolution Services is an unincorporated division of HRRG.
(See deposition transcript of David Friedlander, page 50:14-6, attached as Exhibit
F).
12. It performs collection services on more severely delinquent and older
accounts than HRRG. (See deposition transcript of David Friedlander, page 73:23-
74:1, attached as Exhibit F).
13. ARS Account Resolution Services began its operations in January 2009.
Since then, “ARS” has always been the name under which it usually transacts

business with the public. (See ARS Interrogatory responses, number 10, attached

as Exhibit G).

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14. Employees of ARS are separate and distinct from employees of HRRG.

(See deposition transcript of David Friedlander, page 74:4-6, attached as Exhibit
F).

15. While ARS occupies office space within the same building as HRRG, it is
separate and ARS has its own structure of hierarchy and management. (See
deposition transcript of David Friedlander, page 74:7-16, attached as Exhibit F).
16. ARS’ website, arspayment.com, advises that “ARS” will appear on a
consumer’s credit card statement after an online payment is made. (See ARS
Interrogatory responses, number 9, attached as Exhibit G).

17. The Plaintiffs received a collection letter from ARS on November 30, 2015.
(See November 30, 2015 collection letter attached as Exhibit H).

18. The upper left hand corner of the letter, which is the only portion visible
through the window envelope, refers to Defendant simply as “ARS.” The name
“ARS” is written in font in the upper left hand corner of the letter which is twice as
large as any other font in the letter. (See November 30, 2015 collection letter
attached as Exhibit H).

19. The first sentence of the November 30, 2015 letter indicates that “ARS” will
be used as a short form for ARS Account Resolution Services throughout the letter.

The letter states that, “[t]he healthcare creditor(s) shown below hired ARS Account

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Resolution Services (ARS) to collect the balance due.” (See November 30, 2015
collection letter attached as Exhibit H).
20. The bottom of the November 30, 2015 letter directs that all payments should

be mailed to:

ARS

P.O.Box630806

Cincinnati, OH 45263-0806
(See November 30, 2015 collection letter attached as Exhibit H).
21. Plaintiffs admit in the amended complaint that in all telephone
communications with the Defendant, Defendant used the name “ARS.” (See
complaint par. 31, Exhibit B).
22. Specially, multiple telephone messages were left with Plaintiffs on various
dates, and in every one the caller was identified as “ARS.” (See Defendant
Interrogatory answers no. 3, Exhibit G).
23. ARS representatives have frequent live telephone calls with consumers.
(See deposition transcript of David Friedlander, page 176:8-12, attached as
Exhibit F).
24. During telephone conversations between ARS representatives and

consumers, ARS representatives are trained to identify the company as ARS. (See

deposition transcript of David Friedlander, page 176:16-20, attached as Exhibit F).

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25. The reason for this is because non-debtor, third-parties, may potentially
answer the telephone. Using ARS does not disclose the nature of the call to any
potential third-party who may answer the telephone. (See deposition transcript of
David Friedlander, page 176:24-177:4, attached as Exhibit F).

26. ARS has a quality control program where managers in the company listen to
past recorded telephone conversations between ARS representatives and
consumers. HRRG and ARS President, David Friedlander, has listened to many
past calls between ARS representatives and consumers. (See deposition transcript
of David Friedlander, page 178:5-12, attached as Exhibit F).

27. The name used by ARS representatives in the recorded telephone calls
which Mr. Friedlander has listed to is ARS. (See deposition transcript of David

Friedlander, page 178:13-16, attached as Exhibit F).

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